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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

                                                     Chapter 11
In re:
                                                     Case No. 16-24788
MEDAK TRUCKING, LLC
                                                     Hon. Judge: Michael B. Kaplan
         Debtor
                                                     Hearing Date & Time: 04/02/18 at 10 AM

                                                     Oral Argument Not Requested


                   DEBTORS’ MOTION TO CONVERT CASE TO CHAPTER 7
                      PROCEEDING PURSUANT TO 11 U.S.C.A. § 1112(a)


           Medak Trucking, LLC the debtor and debtor-in-possession herein (collectively referred

 to as the “Debtor”), by and through its undersigned counsel, Scura, Wigfield, Heyer, Stevens &

 Cammarota, LLP, submits this memorandum of law in support of an Order pursuant to sections

 1112(a) of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”)

 for and order converting the existing Chapter 11 case to Chapter 7 (the “Motion”).

                                 PRELIMINARY STATEMENT

           By way of the Motion, Debtor seeks to convert the confirmed Chapter 11 case to Chapter

 7. Following confirmation of the Debtor’s Plan of Reorganization, the Debtor’s business

 operations and revenue decreased. As a result, the Debtor has been unable to maintain ordinary

 post-confirmation expenses, post-confirmation plan payments, and cure administrative expenses.

 Consequently, it is in the best interest of the bankruptcy estate and its creditors, to convert the
Debtor’s case to Chapter 7, whereby the Debtor retains limited assets that may be sold and yield

dividends to creditors.

                                  FACTUAL BACKGROUND

        On August 1, 2016 (the “Petition Date”), the Debtor filed a voluntary petition for relief

pursuant to Chapter 11 of the Bankruptcy Code. Since the Petition Date, the Debtor has remained

in possession of its assets and continues management of its business as debtor-in-possession in

accordance with Sections 1107 and 1108 of the Bankruptcy Code. No request has been made for

the appointment of a trustee or an examiner in this case, and no official committee has yet been

appointed by the Office of the United States Trustee.

        The Debtor is an intermodal and drayage company based out of the major terminals in the

New York and New Jersey area. The Debtor specializes in providing the following services:

local and global transportation; container drayage and intermodal transportation across the

Northeast Region; trans-loading, warehousing and distribution; and general logistic solutions.

Due to a decrease in the Debtor’s business as a result of various factors currently affecting the

freight transportation business, the Debtor defaulted on several of its business loans and financial

obligations. This Chapter 11 filing was precipitated in order to stay the execution of levy on the

Debtor’s bank account stemming from an action filed against the Debtor in the State of New

York.

        Following confirmation of the Debtor’s Plan of Reorganization on January 12, 2018, the

Debtor’s business operations and revenue income decreased. See Confirmation Order, Doc No.

189. As a result, the Debtor has been unable to maintain ordinary post-confirmation expenses,

post-confirmation plan payments, and cure administrative expenses. Consequently, it is in the
best interest of the bankruptcy estate and its creditors, to convert the Debtor’s case to Chapter 7,

whereby the Debtor retains limited assets that may be sold and yield dividends to creditors.

                                     RELIEF REQUESTED

       Section 1112 of the Bankruptcy Code establishes the mechanism and standards for

conversion and dismissal. 11 U.S.C. § 1112. Section 1112(a) provides that “[t]he debtor may

convert a case under this chapter to a case under chapter 7 of this title unless” (i) the debtor is not

a debtor-in-possession; (ii) the case originally was commenced as an involuntary chapter 11

case; or (iii) the case was converted to a case under chapter 11 other than on the debtor’s request.

11 U.S.C. § 1112(a). Section 1112(b) governs requests for conversion or dismissal by anyone

other than the debtor. 11 U.S.C. § 1112(b). It provides that upon the request of a party-in-

interest, “the court shall convert a case under this chapter to a case under chapter 7 or dismiss a

case under this chapter, whichever is in the best interests of creditors and the estate, for cause

unless the court determines that the appointment under section 1104(a) of a trustee or an

examiner is in the best interests of creditors and the estate.” 11 U.S.C. § 1112(b). “Cause” is

defined in section 1112(b)(4) to include the following:

   A. substantial or continuing loss to or diminution of the estate and the absence of a
      reasonable likelihood of rehabilitation;
   B. gross mismanagement of the estate;
   C. failure to maintain appropriate insurance that poses a risk to the estate or to the
      public;
   D. unauthorized use of cash collateral substantially harmful to 1 or more creditors;
   E. failure to comply with an order of the court;
   F. unexcused failure to satisfy timely any applicable filing or reporting requirement
      established by this title or by any rule applicable to a case under this chapter;
   G. failure to attend the meeting of creditors convened under section 341 (a) or an
      examination order under rule 2004 of the Federal Rules of Bankruptcy Procedure
      without good cause shown by the debtor;
   H. failure to timely provide information or attend meetings reasonably requested by
      the United States trustee (or any bankruptcy administrator, if any);
   I. failure timely to pay taxes owed after the date of the order for relief or to file tax
      returns due after the date of the order for relief;
   J. failure to file a disclosure statement, or to file or confirm a plan, within the time
      fixed by this title or by order of the court;
   K. failure to pay certain statutory fees or charges required under chapter 123 of title
      28;
   L. revocation of an order of confirmation under section 1144;
   M. inability to effectuate substantial consummation of a confirmed plan;
   N. material default by the debtor with respect to a confirmed plan;
   O. termination of a confirmed plan by reason of the occurrence of a condition
      specified in the plan; and
   P. failure of the debtor to pay any post-petition domestic support obligation that first
      becomes payable after the date of the filing of the petition.

11 U.S.C. § 1112(4).

       Based upon the express language of the statute and its accompanying legislative history,

section 1112(a) has been almost universally interpreted to confer a chapter 11 debtor with the

“absolute” right to convert to chapter 7 absent the existence of one of the disqualifying

circumstances specified in the statute. In re Dieckhaus Stationers of King of Prussia, Inc., 73

B.R. 969, 971 (Bankr. E.D. Pa. 1987)(“The fallacy in this argument is that the debtor is

proceeding under section 1112(a), not section 1112(b). The former provision, by its terms, gives

the debtor an absolute right to convert, unless the case is governed by one of the enumerated

exceptions. The legislative history confirms Congress' intent to give debtors an absolute right to

convert from chapter 11 to chapter 7.”)

        The Debtor submits that Congress has granted an absolute right to convert from chapter

11 to chapter 7, and that the factors set forth in section 1112(b) governing “cause” for dismissal

are inapplicable. See Tex. Extrusion Corp. v. Lockheed Corp. (In re Tex. Extrusion Corp.), 844

F.2d 1142, 1161 (5th Cir.1988);

       The Debtor recognizes, however, that some courts have found a distinction between

section 1112(a) and the nearly identical provision in chapter 13. See In re Adler, 329 B.R. 406,
  408-409 (Bankr. S.D.N.Y. 2005). Some courts have either (i) recognized that conversion may be

  improper in situations involving “extreme circumstances” (e.g., bad faith, abuse of process or

  other gross inequity); or (ii) engages in some kind of equitable analysis of the facts. See, e.g. In

  re Adler, 329 B.R. 406, 408-409 (Bankr. S.D.N.Y. 2005); Monroe Bank & Trust v. Pinnock, 349

  B.R.493, 496 (E.D. Mich. 2006).

         Here, unlike Monroe Bank & Trust v. Pinnock and In re Adler, no creditor is seeking to

  dismiss the case, and conversion will not be a detriment to the creditor body. Moreover, there are

  no allegations of bad-faith or non-disclosure of assets. However, cause exists to convert, whereby

  the Debtor has not be able to effectuate substantial consummation of the Plan of Reorganization,

  and is in default of the Plan of Reorganization due to business operations and revenue decreasing.

  Thus, it is in the best interest of the Debtor and the bankruptcy estate that the matter be converted

  to Chapter 7.

         The Debtor requests that the Court defer to its determination, as debtors-in-possession, as

  to what is in the best interest of the estate and enter an order converting this case to one under

  Chapter 7.

                                        SCURA, WIGFIELD, HEYER,
                                        STEVENS & CAMMAROTA LLP
                                        Counsel for Medak Trucking, LLC

Dated: March 8, 2018                    By: /s/ Guillermo J. Gonzalez
                                          Guillermo J. Gonzalez
